                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:10-00243
                                                   )       JUDGE CAMPBELL
GERRY CAMPBELL and MARILYN GREENE                  )


                                            ORDER


         Pending before the Court is Defendant Gerry Campbell’s Motion to Continue Plea Hearing

(Docket No. 74). In light of Order (Docket No. 73), the Motion is moot.

         It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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